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 5                             IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                             CASE NO. 1:06-CR-00185 LJO
 9                                                         (1:06MJ00120)
10                          Plaintiff,                     ORDER OF RECONVEYANCE
11            vs.
12   RAUL SALAZAR,
13                          Defendant.
14                                                     /
15            Pursuant to the Stipulation to Release Property Bond filed on 09/07/2007 [Doc. 67] on behalf
16   of defendant Raul Salazar,
17            IT IS HEREBY ORDERED that the following property be reconveyed, Maria S. Salazar, a
18   married woman as her sole and separate property (Property Deed No. 2006-0073757-00) receipt
19   number 101 8820 forthwith.
20
21   IT IS SO ORDERED.
22   Dated:         September 5, 2013            /s/ Lawrence J. O'Neill   B9ed48
                                                 UNITED STATES DISTRICT JUDGE
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